
705 S.E.2d 342 (2010)
Larry WADDELL
v.
Alvin W. KELLER, Jr., Secretary, Department of Corrections and
Herbert Jackson, Administrator, Brown Creek Correctional Institution.
No. 462P10.
Supreme Court of North Carolina.
November 4, 2010.
Sarah Jessica Farber, for Larry Waddell.
Tom Pitman, Special Deputy Attorney General, for Alvin W. Keller, et al.

ORDER
Upon consideration of the application filed by Plaintiff on the 22nd of October 2010 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Mecklenburg County:
"Denied by order of the Court in conference, this the 4th of November 2010."
